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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

 In re:                                                 :
                                                        :
 THE ROMAN CATHOLIC DIOCESE OF                          :          Chapter 11
 ROCKVILLE CENTRE, NEW YORK,                            :
                                                        :          Case No. 20-12345 (MG)
                               Debtor.                  :
                                                        :
                                                        :
 THE ROMAN CATHOLIC DIOCESE OF                          :
 ROCKVILLE CENTRE, NEW YORK,                            :
                                                        :          Adv. Pro. No. 23-01136 (MG)
                               Plaintiff,               :
                                                        :
 v.                                                     :
                                                        :
 THE CATHOLIC DIOCESE OF ROCKVILLE
                                                        :
 CENTRE,
                                                        :
                               Defendant.               :
                                                        :
                                                        :

                     ORDER CLOSING ADVERSARY PROCEEDING

        WHEREAS, on July 5, 2023, the above-captioned Debtor filed a motion before the United
States District Court for the Southern District of New York, pursuant to 28 U.S.C. § 157(b)(5), to
transfer 224 personal injury cases related to the Debtor’s chapter 11 case to the Southern District
of New York (the “Motion”);

       WHEREAS, on July 6, 2023, the Motion was referred to this Court pursuant to 28 U.S.C.
§ 157(a) and the Amended Standing Order of Reference dated January 31, 2012;

       WHEREAS, on July 6, 2023, as a result of the referral by the District Court, the above-
captioned adversary proceeding was opened by this Court;

        WHEREAS, on July 7, 2023, counsel for the Debtor filed a letter with the District Court
stating that the Motion should not have been automatically referred to this Court because the
Motion sought relief that can only be determined by the District Court; and

        WHEREAS, on July 13, 2023, the District Court entered an Order [Case No. 23-cv-5751
(LGS); ECF No. 10] rescinding the order of reference for the reasons stated in counsel’s July 7
letter.

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       NOW, THEREFORE, IT IS ORDERED that the Clerk of Court shall close the above-
captioned adversary proceeding.

IT IS SO ORDERED.
Dated: July 19, 2023
       New York, New York

                                                        /s/ Martin Glenn
                                                          MARTIN GLENN
                                                 Chief United States Bankruptcy Judge




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